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                                  ORDERED.


 Dated: July 26, 2018




                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

In re                                       )
        HOWARD SCOTT BASSUK                 )       Case No.: 6:17-04478-KSJ
                                            )       Chapter 7
                                            )
                                            )
                    Debtor(s)               )

          ORDER GRANTING TRUSTEE'S MOTION FOR TURNOVER OF
                      PROPERTY OF THE ESTATE

        THIS CASE came on for consideration on the Trustee's Motion For Turnover Of

Property of the Estate (Document No. 75). The court considered the record and finds.

        1. On June 11, 2018, the Trustee filed the Trustee's Motion For Turnover Of

Property Of The Estate ["Motion"] (Document No. 75). Property of the bankruptcy

estate includes the bank statements and financial record related to the Debtor’s 100%

ownership interest in MAD Enterprises Group LLC a Florida limited liability company

(the “Property”).
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       2. A certificate of service was included in the Motion indicating that the Motion

was served by First-Class United States Mail, postage prepaid, or by electronic

notification on June 11, 2018 to the Debtor and Counsel for the Debtor.

       3. A Notice Of Opportunity To Object And For Hearing was included in the

Motion which allowed thirty (30) days for the debtor to respond to the Motion.

       4. The thirty (30) day response period has passed and the debtor has not filed a

response to the Motion.

       Based on the foregoing, it is:

       ORDERED, that the Trustee’s Motion for Turnover is hereby GRANTED. The

Debtor’s financial records of his ownership interest in MAD Enterprises Group LLC are

property of the bankruptcy estate and subject to administration by the trustee. The

Debtor is ordered, within fifteen (15) days from the date of entry of this order, to (a)

provide the Trustee with copies of the MAD Enterprises account with Chase bank ending

in 3815 for the period of April 2016 through the date of filing the bankruptcy case; (b) to

provide the Trustee with an accounting of transfers and proof of the use of the cash

withdrawals, including statements and invoices paid from Chase bank account ending in

3815 as referenced in the Motion; (c) to provide the Trustee with copies of the bank

statements for the accounts ending in 2272, 5929, 6010, 6206, and 7631 as referenced in

the Motion for the period of January 1, 2016 through the date of filing the bankruptcy

case; and (d) to provide the Trustee with copies of the bank statements for account

ending in 7401, the account owned by the Debtor and his wife Michelle Charles for the

period of January 1, 2016 through the date of filing the bankruptcy case.
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       Trustee, Robert E Thomas, is directed to serve a copy of this Order on interested

parties who are non CM/ECF users and file a proof of service within 3 days of entry of

the order.
